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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION



UNITED STATES OF AMERICA

v.                                                          CRIMINAL CASE NO. 3:14CR132-2

CHRISTIAN BERNABEL,

                       Defendant.


         REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

        This matter is before the Court pursuant to Title 28 U.S.C. § 636(b)(1)(B) and (b)(3)

upon the Defendant's request to enter a plea of guilty pursuant to Fed. R. Crim. P. 11 and an oral

recitation and the statement of facts that have been agreed upon by the United States and the

Defendant. The matter was presented to the Court upon the written consent of the Defendant and

counsel for the Defendant to proceed before a United States Magistrate Judge, said consent

including the Defendant's understanding that he consented to not only having the Magistrate

Judge conduct the hearing and enter any order of forfeiture, if applicable, but also to having the

Magistrate Judge make necessary findings and accept any guilty plea as may be entered that

could not be withdrawn except for a fair and just reason.

         The Defendant pled guilty to Counts One (1), Two (2), and Three (3) of the Indictment

in open court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and

statements made by the Defendant under oath, on the record, and based upon the oral recitation

and statement of facts presented, the Court makes the following findings:

1.             That the Defendant is competent to enter a plea of guilty;

2.             That the Defendant understands the nature of the charge against him to which his

               plea is offered;
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